
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1401-06






DAVID JOHN BESSEY, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SIXTH COURT OF APPEALS


UPSHUR  COUNTY





	Johnson, J., filed a concurring and dissenting opinion in which Womack, J.,
joined.


C O N C U R R I N G   AND   D I S S E N T I N G   O P I N I O N 



	I agree that an appellant may raise the issue of improper admonishments regarding a plea of guilty
without having made an objection or raising the issue at trial.  The purpose of the  admonition at issue here
is to make sure that the defendant knows about the registration requirement.  Only a defendant who already
knew about the registration requirement, and thus would not need the admonition, would be in a position
to object to the absence of the admonition.  However, a person who did not already know about the
registration requirement would not know that a required admonition had been erroneously omitted and
would, therefore, not object to its absence.  I therefore join the Court's opinion as to its discussion of
preservation of error.  

	The court of appeals erred when it held that appellant had not preserved error as to the inadequate
admonition.  The proper response by this Court is to remand the cause to the court of appeals and let it
consider, in the first instance, the next step in the process-analysis of the harm that may have resulted from
the trial court's failure to properly admonish appellant.  It may seem to some to be inefficient to remand
when this Court can itself consider that issue, but the role of this Court is to review decisions of the next
lower court.  In such circumstances as these, there was no decision as to the issue of harm, thus no decision
on that issue for this Court to review.  For this reason, I respectfully dissent to the Court's failure to remand
this cause to the court of appeals.

	

Filed: November 14, 2007

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